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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

RICHARDINE NESMITH,                          §
                                             §
               Plaintiff,                    §    Civil Action No. 2:18-cv-16534-JMV-JBC
                                             §
               v.                            §
                                             §
IENERGIZER HOLDINGS, LLC et al,              §
                                             §
               Defendant.                    §
                                             §
                                             §


                                NOTICE OF SETTLEMENT

       TO THE CLERK:

NOTICE IS HEREBY GIVEN that the Plaintiff and Defendant GC Services, L.P. have reached

settlement in the above-captioned case. The parties anticipate filing a stipulation of dismissal of

this action with respect to GC Services with prejudice pursuant to Fed. R. Civ. P. 41 (a) within

sixty (60) days. Plaintiff’s claim against Defendants First Contact, LLC d/b/a iQor, Alorica, Inc.

f/k/a EGS Financial Care, Inc. and iEnergizer Holdings, LLC have not been settled at this time.



                                             RESPECTFULLY SUBMITTED,

  DATED: March 27, 2019
                                            By: /s/ Amy L. Bennecoff Ginsburg
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                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF

system:

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